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                     Exhibit 23
           Summary of Financial Transactions for Twelve (12) Selected Entities / Organizations as BeneficiarybyYear(1999 - 2004)

                                                                                                                 Arab Bank Transactions via           Total Transactions and US Dollar
                                        Arab Bank - Branch of New         Arab Bank Saudi Committee
                                                                                                                         Non-US Branches                Amount Processed for Each
                                             York Transactions                       Transactions
                                                                                                                           (Outside of US)                  Entity / Organization

                                          Transactions as Beneficiary:       Transactions as Beneficiary:          Transactions as Beneficiary:           Transactions as Beneficiary:

                                          No. of                            No. of                                No. of                                 No. of
                                                       US Dollar Value                       US Dollar Value                        US Dollar Value                       US Dollar Value
                Category Name                                            Transactions                          Transactions                           Transactions
                                       Transactions



       Union of the Good                   23         $        50,911         0          $                          0           $                         23         $            50,911


       The Islamic Center - Gaza            1         $        27,178         2          $           20,985        28           $         751,389         31          $         799,552
                                                                                                                                                                                            Case 1:18-cv-02192-HG-PK




       The Islamic Society - Gaza          39         $ 1,158,578             7          $           40,382        86           $       1,474,507         132         $      2,673,467
                                                                                                                                                                                                       Case 16-2119, Document




       Al-Salah Islamic Association                                                                                                                       147         $ 15,236,322
                                           61          $ 2,387,546            16         $       9,730,813         70           $       3,117,964
       - Gaza
                                                                                                                                                                                                                        Document




       A1 Nur Prisoners' Society-                                                                                                                          1          $             1,985
                                             1         $         1,985        0          $                          0           $
       Gaza
                                                                                                                                                                                                                                   2176




       Islamic Charitable Society -                                                                                                                                   $       9,457,768
                                           91          $ 1,822,641            14         $       4,863,533         72           $       2,771,594         177
                                                                                                                                                                                                                              93, 10/21/2016,




       Hebron
                                                                                                                                                                                                                                  86-23 Filed




       Jenin Charitable Society             2          $       21,264         0          $                          0           $                          2          $           21,264
                                                                                                                                                                                                                                              1893058,




       Nablus Zakat Committee               21         $      226,675          1         $           13,297        33           $         447,129         55          S         687,100
                                                                                                                                                                                                                                                04/04/22Page36




       Tulkarem Zakat Committee             22         $      182,500          1         $           13,297        41           $         508,729         64          $         704,526

       Ramallah - al-Bireh Zakat
                                                                                                                   45           $         404,815          83         $         862,815
                                                                                                                                                                                                                                                           Pageof2330




                                            37         $      444,703          1          $          13,297
>(II   Committee

>1     Al-lslah Charitable Society -
                                            15         $      228,547          3          $         604,760         14           $         334,758         32         $       1,168,066
O      Ramallah & Al-Bireh
0)
                                                                                                                                                                                                                                                                   of 2 PageID #:




       Al-Tadamun Charitable                                                                                                                                          $          648,395
                                            16         $      168,372          1          $           13,297                     $         466,726         48
       Society - Nablus                                                                                             31




                                           322         S 6,720,900            #           $ 15,313,661             420           $ 10,277,609             795         $ 32,312,170
